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                      EXHIBIT
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NASSAU: COMMERCIAL DIVISION


           PENNY NINIVAGGI, individually and on behalf of all          Index No.:
           others similarly situated,
                                                                       SUMMONS
                                         Plaintiff,
                                                                       Plaintiff designates NASSAU
                  -against-                                            COUNTY as the place of trial

           UNIVERSITY OF DELAWARE,                                     The basis of venue is: RESIDENCE
                                                                       OF PLAINTIFF
                                         Defendant.


          To the above-named Defendant:

                 YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
          a copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
          appearance on the Plaintiff’s Attorney within twenty days after the service of this summons,
          exclusive of the day of service (or within 30 days after the service is complete if this summons is
          not personally delivered to you within the State of New York); and in case of your failure to
          appear or answer, judgment will be taken against you by default for the relief demanded in the
          complaint.

           Dated: May 26, 2020                               BURSOR & FISHER, P.A.
                  New York, New York
                                                             By:    /s/ Joshua D. Arisohn
                                                                     Joshua D. Arisohn

                                                             Joshua D. Arisohn
                                                             888 Seventh Avenue
                                                             New York, NY 10019
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                                                            Attorney for Plaintiff




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NASSAU: COMMERCIAL DIVISION


            PENNY NINIVAGGI, individually and on                 Index No.:
            behalf of all others similarly situated,
                                                                 CLASS ACTION COMPLAINT
                                       Plaintiff,
                                                                 JURY TRIAL DEMANDED
                      v.

            UNIVERSITY OF DELAWARE,

                                        Defendant.


                 Plaintiff Penny Ninivaggi (“Plaintiff”) brings this action on behalf of herself and all

          others similarly situated against Defendant University of Delaware (“UD” or “Defendant”).

          Plaintiff makes the following allegations pursuant to the investigation of her counsel and based

          upon information and belief, except as to the allegations specifically pertaining to herself, which

          are based on personal knowledge.

                   NATURE OF THE ACTION AND FACTS COMMON TO ALL CLAIMS

                 1.        This is a class action lawsuit on behalf of all people who paid tuition and fees for

          the Spring 2020 academic semester at UD and who, because of Defendant’s response to the

          Novel Coronavirus Disease 2019 (“COVID-19”) pandemic, lost the benefit of the education for

          which they paid, and/or the services or which their fees were paid, without having their tuition

          and fees refunded to them.

                 2.        With approximately 18,500 undergraduate and 4,500 graduate students, UD is the

          largest university in Delaware. UD offers 148 bachelor’s programs, 121 master’s programs

          (with 13 joint degrees) and 55 doctoral programs across its eight colleges.

                 3.        On March 11, UD announced that it was suspending classes for the next two days

          in the run up to spring break and that the school would transition all instruction to online learning


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          for the rest of the semester. Online learning was initially planned to begin on March 23, 2020,

          but was later pushed back to March 30, 2020.

                 4.      As such, UD has not held in-person classes since March 11, 2020. Classes that

          have continued have only been offered in an online format, with no in-person instruction.

                 5.      As a result of the closure of Defendant’s facilities, Defendant has not delivered

          the educational services, facilities, access and/or opportunities that Plaintiff and the putative class

          contracted and paid for. The online learning options being offered to UD students are subpar in

          practically every aspect, from the lack of facilities, materials, and access to faculty. Students

          have been deprived of the opportunity for collaborative learning and in-person dialogue,

          feedback, and critique. The remote learning options are in no way the equivalent of the in-

          person education that Plaintiff and the putative class members contracted and paid for.

                 6.      Plaintiff and the putative class are therefore entitled to a refund of tuition and fees

          for in-person educational services, facilities, access and/or opportunities that Defendant has not

          provided. Even if Defendant did not have a choice in cancelling in-person classes, it

          nevertheless improperly retained funds for services it is not providing.

                 7.      Plaintiff seeks, for herself and Class members, Defendant’s disgorgement of the

          pro-rated portion of tuition and fees, proportionate to the amount of time that remained in the

          Spring Semester 2020 when classes moved online, and campus services ceased being provided.

          Plaintiff seeks a return of these amounts on behalf of herself and the Class as defined below.

                                                       PARTIES

                 8.      Plaintiff Penny Ninivaggi is a citizen of New York who resides in Merrick, New

          York. Ms. Ninivaggi is the parent of Michael Ninivaggi, an undergraduate student at UD

          pursuing a Bachelor’s Degree in Accounting and Finance. The Accounting and Finance majors




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          at UD rely extensively on in-person instruction, peer collaboration, and access to UD’s facilities.

         For the spring semester, UD charged Ms. Ninivaggi $17,080 in tuition, a $750 differential for the

         Business and Economics Program, $227 for a Student Health Service Fee, $429 for a

         Comprehensive Student Fee and $119 for a Student Center Fee. Ms Ninivaggi paid UD

         approximately $5,824.48 of these costs out of pocket. Ms. Ninavaggi and her son Michael also

         jointly took out a loan of approximately $9,400 to pay for the spring semester. The remainder of

         the tuition and fees for the spring semester were covered by a Federal Pell Grant and a Federal

         DL Subsidized Loan. To date, Ms. Ninivaggi has a received a refund from UD of only $184.42

         despite the fact that in-person classes have not been held since March 11, 2020.

                  9.       Defendant University of Delaware is a public university located in Newark,

         Delaware.

                                                         VENUE

                  10.      Venue is proper in this county because many of the acts and transactions giving

          rise to this action occurred in this District, and because Plaintiff is a resident of the state in which

          the District is located. Specifically, the contract that is the subject of this action was formed in

          this District.

                  11.      The Commercial Division of the Supreme Court of the State of New York,

          Nassau County, is the proper venue for this action because this is a consumer class action, and

          the amount in controversy exceeds $200,000, exclusive of punitive damages, interest, costs,

          disbursements, and attorneys’ fees.

                                             FACTUAL ALLEGATIONS

                  12.      Plaintiff and Class members are individuals who paid the cost of tuition and other

          mandatory fees for the Spring 2020 Semester at UD.




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                 13.      Spring Semester 2020 classes at UD began on February 10, 2020. The final day

          of classes was scheduled for May 18, 2020 and final examinations were scheduled to end on

          May 28, 2020.

                 14.      Plaintiff and Class members paid the cost of tuition for the Spring Semester 2020.

          They also paid other mandatory fees associated with the Spring Semester 2020.

                 15.      Approximate tuition costs at UD for the Spring 2020 Semester are as follows:

                                     •   Undergraduate Tuition (in-state): $6,365

                                     •   Undergraduate Tuition (out-of-state): $17,080

                                     •   Associate in Arts Program (in-state): $2,113

                                     •   Associate in Arts Program (out-of-state): $5,275

          The tuition for various graduate programs run up to $1,898 per credit.

                 16.      In addition to tuition, UD charges undergraduate and graduate student fees,

          including Student Health Service Fees, Comprehensive Student Fees, Student Center Fees,

          Differential Fees, Mandatory Full Time Fees, Sustaining Tuition Fees, Indirect Costs and others.

                 17.      The tuition and fees described in the paragraphs above are provided by way of

          example; total damage amounts – which may include other fees that are not listed herein but that

          were not refunded – will be proven at trial.

                 18.      On March 11, UD announced that it was suspending classes for the next two days

          in the run up to spring break and that the school would transition all instruction to online learning

          for the rest of the semester. Online learning was initially planned to begin on March 23, 2020,

          but was later pushed back to March 30, 2020.

                 19.      Since March 11, 2020, UD has not held any in-person classes. Classes that have

          continued have only been offered in an online format, with no in-person instruction. Even



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          classes for students with concentrations in areas where in-person instruction is especially crucial

          have only had access to minimum online education options.

                 20.     As a result of the closure of Defendant’s facilities, Defendant has not delivered

          the educational services, facilities, access and/or opportunities that Plaintiff and the putative class

          contracted and paid for. Plaintiff and the putative class are therefore entitled to a refund of all

          tuition and fees for services, facilities, access and/or opportunities that Defendant has not

         provided. Even if Defendant claims it did not have a choice in cancelling in-person classes, it

         nevertheless improperly retained funds for services it is not providing.

                 21.     Plaintiff and members of the Class did not pay for attendance at an online

         institution of higher learning, but instead paid for attendance at Defendant’s institution on an in-

         person basis.

                 22.     Defendant markets the UD on-campus experience as a benefit of enrollment on its

         website:




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                                                                                    Our       halls     are     vibrant         communities                     where           our      students       can

                                                                                    achieve           their     aspirations                and         grow       together.            We     provide          a

                                                                                    multitude            of    learning          opportunities                   for    students.            Check       out       our

                                                                                    in-hall       programming                   below            to     see      how         your      student        can      get

                                                                                    involved           on     campus!




                        Program                                      Highlights



                        Leadership                               and          Engagement                                  Opportunities


                        Gain           practical               experience               through              clubs        and        organizations,                         including:




                             •                                 Students            Association
                                   Accounting

                             •     Blue       Hen       Investment                Club

                             •     Lerner            College                            Center
                                                                    Trading




                        23.                 The      online       learning         options            being        offered          to    UD       sMdets              are     subpar        in practically



         every        aspect          and      a shadow            of what          they       once      were,         from         the     lack        of    facilities,           materials,          and


         access        to        faculty.         SMdets            have         been      deprived           of the         opportunity                for      collaborative               learning          and


          in-person              dialogue,            feedback,            and    critique.


                        24.                 The      remote        learning         options            are    in no       way        the     equivalent                of the         in-person


          education               putative           class     members            contracted             and       paid      for.         The      remote          education                         provided
                                                                                                                                                                                          being


          is not      even          reetely            worth       the      amount          charged            class      members                for     Spring         Semester             2020       tuition.


          The      tuition          and       fees     for     in-person          instruction            at    UD      are      higher          than         tuition         and      fees   for     online




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          institutions because such costs cover not just the academic instruction, but encompass an entirely

          different experience which includes but is not limited to:

                             •   Face to face interaction with professors, mentors, and peers;

                             •   Access to facilities such as libraries, laboratories, computer labs, and

                                 study room;

                             •   Student governance and student unions;

                             •   Extra-curricular activities, groups, intramural sports, etc.;

                             •   Student art, cultures, and other activities;

                             •   Social development and independence;

                             •   Hands on learning and experimentation;

                             •   Networking and mentorship opportunities.

                 25.     The fact that UD students paid a higher price for an in-person education than they

          would have paid for an online education is illustrated clearly by the vast price difference in UD’s

          in-person, on-campus program and its online course offerings, sometimes for the exact same

          subject. For instance, UD charges $1,350 per credit for its in-person Accounting Practice

          graduate program, but only $900 per credit for the online version. Similarly, UD charges

          $1,898.00 per credit for its in-person Education Technology graduate program, and only $697.00

          for the same program online. UD’s International Business Master’s Program costs $1,350 for in-

          person instruction and just $900 for online instruction.

                 26.     Through this lawsuit Plaintiff seeks, for herself and Class members, Defendant’s

          disgorgement of the pro-rated portion of tuition and fees, proportionate to the amount of time

          that remained in the Spring Semester 2020 when classes moved online, and campus services

          ceased being provided. Plaintiff seeks return of these amounts on behalf of herself and the Class



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         as defined below.

                                             CLASS ALLEGATIONS

                27.     Plaintiff seeks to represent a class defined as all people who paid University of

         Delaware Spring Semester 2020 tuition and/or fees for in-person educational services that

         University of Delaware failed to provide, and whose tuition and fees have not been refunded (the

         “Class”). Specifically excluded from the Class are Defendant, Defendant’s officers, directors,

         agents, trustees, parents, children, corporations, trusts, representatives, employees, principals,

         servants, partners, joint ventures, or entities controlled by Defendant, and their heirs, successors,

         assigns, or other persons or entities related to or affiliated with Defendant and/or Defendant’s

         officers and/or directors, the judge assigned to this action, and any member of the judge’s

         immediate family.

                28.     Plaintiff also seeks to represent a subclass consisting of Class members who

         reside in New York (the “Subclass”).

                29.     Subject to additional information obtained through further investigation and

         discovery, the foregoing definition of the Class may be expanded or narrowed by amendment or

         amended complaint.

                30.     Numerosity. The members of the Class are geographically dispersed throughout

         the United States and are so numerous that individual joinder is impracticable. Upon

         information and belief, Plaintiff reasonably estimates that there are tens of thousands of members

         in the Class. Although the precise number of Class members is unknown to Plaintiff, the true

         number of Class members is known by Defendant and may be determined through discovery.

         Class members may be notified of the pendency of this action by mail and/or publication through

         the distribution records of Defendant and third-party retailers and vendors.




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                  31.    Existence and predominance of common questions of law and fact. Common

         questions of law and fact exist as to all members of the Class and predominate over any

         questions affecting only individual Class members. These common legal and factual questions

         include, but are not limited to, the following:

            (a) whether Defendant accepted money from Class members in exchange for the promise to

                  provide services;

            (b) whether Defendant provided the services for which Class members contracted; and

            (c) whether Class members are entitled to a refund for that portion of the tuition and fees that

                  was contracted for services that Defendant did not provide.

            (d) whether Defendant unlawfully converted money from Plaintiff, the Class; and

            (e) whether Defendant is liable to Plaintiff and the Class for unjust enrichment.

                  32.    Typicality. Plaintiff’s claims are typical of the claims of the other members of

         the Class in that, among other things, all Class members were similarly situated and were

         comparably injured through Defendant’s wrongful conduct as set forth herein. Further, there are

         no defenses available to Defendant that are unique to Plaintiff.

                  33.    Adequacy of Representation. Plaintiff will fairly and adequately protect the

         interests of the Class. Plaintiff has retained counsel that is highly experienced in complex

         consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on

         behalf of the Class. Furthermore, Plaintiff has no interests that are antagonistic to those of the

         Class.

                  34.    Superiority. A class action is superior to all other available means for the fair

         and efficient adjudication of this controversy. The damages or other financial detriment suffered

         by individual Class members are relatively small compared to the burden and expense of




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         individual litigation of their claims against Defendant. It would, thus, be virtually impossible for

         the Class on an individual basis, to obtain effective redress for the wrongs committed against

         them. Furthermore, even if Class members could afford such individualized litigation, the court

         system could not. Individualized litigation would create the danger of inconsistent or

         contradictory judgments arising from the same set of facts. Individualized litigation would also

         increase the delay and expense to all parties and the court system from the issues raised by this

         action. By contrast, the class action device provides the benefits of adjudication of these issues

         in a single proceeding, economies of scale, and comprehensive supervision by a single court, and

         presents no unusual management difficulties under the circumstances.

                35.     In the alternative, the Class may also be certified because:

            (a) the prosecution of separate actions by individual Class members would create a risk of

                inconsistent or varying adjudications with respect to individual Class members that

                would establish incompatible standards of conduct for the Defendant;

            (b) the prosecution of separate actions by individual Class members would create a risk of

                adjudications with respect to them that would, as a practical matter, be dispositive of the

                interests of other Class members not parties to the adjudications, or substantially impair

                or impede their ability to protect their interests; and/or

            (c) Defendant has acted or refused to act on grounds generally applicable to the Class as a

                whole, thereby making appropriate final declaratory and/or injunctive relief with respect

                to the members of the Class as a whole.

                                                   COUNT I
                                               Breach Of Contract
                                             (On Behalf Of The Class)

                36.     Plaintiff hereby incorporates by reference the allegations contained in all




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         preceding paragraphs of this complaint.

                37.      Plaintiff brings this claim individually and on behalf of the members of the Class

         and Subclass against Defendant.

                38.      Through the admission agreement and payment of tuition and fees, Plaintiff and

         each member of the Class entered into a binding contract with Defendant.

                39.      As part of the contract, and in exchange for the aforementioned consideration,

         Defendant promised to provide certain services, all as set forth above. Plaintiff and Class

         members fulfilled their end of the bargain when they paid monies due for Spring Semester 2020

         tuition. Tuition for Spring Semester 2020 was intended to cover in-person educational services

         from February through May 2020. In exchange for tuition monies paid, Class members were

         entitled to in-person educational services through the end of the Spring Semester.

                40.      Defendant has failed to provide the contracted for services and has otherwise not

         performed under the contract as set forth above. Defendant has retained monies paid by Plaintiff

         and the Class for their Spring Semester 2020 tuition and fees, without providing them the benefit

         of their bargain.

                41.      Plaintiff and members of the Class have suffered damage as a direct and

         proximate result of Defendant’s breach, including but not limited to being deprived of the

         education, experience, and services to which they were promised and for which they have

         already paid.

                42.      As a direct and proximate result of Defendant’s breach, Plaintiff and the Class are

         entitled to damages, to be decided by the trier of fact in this action, to include but no be limited

         to reimbursement of certain tuition, fees, and other expenses that were collected by Defendant

         for services that Defendant has failed to deliver. Defendant should return the pro-rated portion




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         of any Spring Semester 2020 tuition and fees for education services not provided since UD was

         shut down on March 11, 2020.

                43.     Defendant’s performance under the contract is not excused due to COVID-19.

         Indeed, Defendant should have refunded the pro-rated portion of any education services not

         provided. Even if performance was excused or impossible, Defendant would nevertheless be

         required to return the funds received for services they will not provide.

                                                   COUNT II
                                               Unjust Enrichment
                                             (On Behalf Of The Class)

                44.     Plaintiff hereby incorporates by reference the allegations contained in all

         preceding paragraphs of this complaint.

                45.     Plaintiff brings this claim individually and on behalf of the members of the Class

         and Subclass against Defendant.

                46.     Plaintiff and members of the Class conferred a benefit on Defendant in the form

         of monies paid for Spring Semester 2020 tuition and other fees in exchange for certain service

         and promises. Tuition for Spring Semester 2020 was intended to cover in-person educational

         services from January through May 2020. In exchange for tuition monies paid, Class members

         were entitled to in-person educational services through the end of the Spring Semester.

                47.     Defendant voluntarily accepted and retained this benefit by accepting payment.

                48.     Defendant has retained this benefit, even though Defendant has failed to provide

         the education, experience, and services for which the tuition and fees were collected, making

         Defendant’s retention unjust under the circumstances. Accordingly, Defendant should return the

         pro-rated portion of any Spring Semester 2020 tuition and fees for education services not

         provided since UD shut down on March 11, 2020.




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                49.     It would be unjust and inequitable for Defendant to retain the benefit, and

         Defendant should be required to disgorge this unjust enrichment.

                                                  COUNT III
                                                  Conversion
                                            (On Behalf Of The Class)

                50.     Plaintiff hereby incorporates by reference the allegations contained in all

         preceding paragraphs of this complaint.

                51.     Plaintiff brings this claim individually and on behalf of the members of the Class

         and Subclass against Defendant.

                52.     Plaintiff and members of the Class have an ownership right to the in-person

         educational services they were supposed to be provided in exchange for their Spring Semester

         2020 tuition and fee payments to Defendant.

                53.     Defendant intentionally interfered with the rights of Plaintiff and the Class when

         they moved all classes to an online format and discontinued in-person educational services for

         which tuition and fees were intended to pay.

                54.     Plaintiff and members of the Class demand the return of the pro-rated portion of

         any Spring Semester 2020 tuition and fees for education services not provided since UD shut

         down on March 11, 2020.

                55.     Defendant’s retention of the fees paid by Plaintiff and members of the Class

         without providing the educational services for which they paid, deprived Plaintiff, Class

         members of the benefits for which the tuition and fees paid.

                56.     This interference with the services for which Plaintiff and members of the Class

         paid damaged Plaintiff and Class members in that they paid tuition and fees for services that will

         not be provided.




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                57.     Plaintiff, Class members are entitled to the return of pro-rated portion of any

         Spring Semester 2020 tuition and fees for education services not provided since UD shut down

         on March 11, 2020.

                                              PRAYER FOR RELIEF

                WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

         judgment against Defendant, as follows:

                        (a)     For an order certifying the Class and Subclass pursuant to CPLR 901 and
                                naming Plaintiff as representatives of the Class and Subclass and
                                Plaintiff’s attorneys as Class Counsel to represent the Class and Subclass;

                        (b)     For an order finding in favor of Plaintiff and the Class and Sublcass on all
                                counts asserted herein;

                        (c)     For compensatory and punitive damages in amounts to be determined by
                                the Court and/or jury;

                        (d)     For prejudgment interest on all amounts awarded;

                        (e)     For an order of restitution and all other forms of equitable monetary relief;

                        (f)     For injunctive relief as pleaded or as the Court may deem proper; and

                        (g)     For an order awarding Plaintiff and the Class their reasonable attorneys’
                                fees and expenses and costs of suit.

                                                  JURY DEMAND

                Plaintiff demands a trial by jury of any and all issues in this action so triable.



         Dated: May 26, 2020                            Respectfully submitted,

                                                        BURSOR & FISHER, P.A.

                                                        By:     /s/ Joshua D. Arisohn
                                                                   Joshua D. Arisohn

                                                        Joshua D. Arisohn
                                                        888 Seventh Avenue



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                                                                              NYSCEF:  05/26/2020




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                                             Attorneys for Plaintiff




                                               16

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                                                                              NYSCEF:  06/03/2020


      Attorneyor PartywithoutAttorney                                                                                                     For CourtUseOny
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      BURSOR& FISHER,P.A.
      888 Seventh Ave
      New York, NY 10019
       Telephone No: 646.837.7150

          AttorneyFor: Plaintiff                                          Ref.No.or FileNo.:

      Insertnameof Court,andjudicial Districtand BranchCourt:
      SUPREMECOURT OF THE STATE OF NEW YORK COUNTY OF NASSAU:COMMERCIALDIVISION
        Plaintff: PENNY NINIVAGGI, individually       and on behalf of all others similarly situated
      Defendant' UNIVERSITYOF DELAWARE
                                                                                          Time·
                    AFFIDAVIT      OF SERVICE                  HearingDate:                             Dept/Div         CaseNumber:
                                                                                                                         604688/2020


     1.    At the time of service I was at least 18 years of age and not a party to this action.

     2.    I served copies of the Summons, Class Action Complaint

     3.    a.   Party served:      University of Delaware
           b.   Person served:     Conner Grayhill, Authorized Mail Room Employee

     4.    Address where the party was served:     210 South College Ave, Newark, DE 19716

     5.    I served the party:
           a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized             to receive
           process for the party (1) on: Mon, Jun. 01, 2020 (2) at: 10:05 AM




                                                                                          I declare under penalty of perjury that the foregoing is true and correct.
     7.    Person Who Served Papers:
           a. John Garber
           b. FIRST LEGAL
              3600 Lime Street, Suite 626
              RIVERSIDE,CA 92501
           c. (888) 599-5039




                                                                                               (Date)                                       (Signature)




     8.    STATEOF DELAWARE,COUNTYOF             fm    CosN€
           Subscribed and sworn to (or apirmed) before on this                       day of                                2020 by John Garber
           proved to me on the basis of satisfactory evidence to be the person who appeared before me.




                                                                                                                                           (Notary Signature)




                                                                              AFFIDAVITOFSERVICE                              .                                 4560014

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                                                                                                                     a     EXPlRES
                                                                                                                         MAR. 12, 2022




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